          Case 2:20-cv-01026-JCC-MLP Document 30 Filed 11/04/20 Page 1 of 2




 1                                                THE HONORABLE JOHN C. COUGHENOUR
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   SCOTTSDALE INSURANCE COMPANY, )
                                         )             CASE NO: 2-20-CV-01026-JCC-MLP
10                            Plaintiff, )
     v.                                  )             ORDER GRANTING DEFENDANT
11                                       )             DONNA KELLER’S STIPULATED
     LFH CARE LLC, D/B/A FAITH FAMILY )                REQUEST TO FILE PROPOSED
12   HOME; CHANGMIN AN; SONJA            )             SECOND AMENDED ANSWER
     SUNGEUN AN; DONNA KELLER, BY        )
13   AND THROUGH HER DURABLE POWER )
     OF ATTORNEY AGENT, JEANNE           )
14   SLONECKER,                          )
                                         )
15                           Defendants.
16
     LFH CARE LLC, D/B/A FAITH FAMILY              )
17   HOME; CHANGMIN AN; and SONJA                  )
     SUNGEUN AN,                                   )
18                                                 )
                        Third-Party Plaintiffs,    )
19   v.                                            )
                                                   )
20   RICE INSURANCE, LLC, a Washington             )
     limited liability company,                    )
21                                                 )
                       Third-Party Defendant.      )
22                                                 )

23          Presently before the Court is Defendant Donna Keller’s (“Keller”) stipulated request to

24   file a Second Amended Answer. Given the written consent of the adverse party, Third Party
25   Defendant Rice Insurance, LLC (“Rice”), and for good cause appearing, the Court GRANTS
26
     the request. Defendant Keller may file her Second Amended Answer. It is so Ordered.

                                                                     CROLLARD LAW OFFICE, PLLC
     ORDER GRANTING DEFENDANT DONNA KELLER’S                         9725 3RD AVE NE, SUITE 600
     STIPULED REQUEST TO FILE PROPOSED                                SEATTLE, WA 98115-2061
     SECOND AMENDED ANSWER                -1-                            TEL (206) 623-3333
                                                                         FAX (206) 260-7357
          Case 2:20-cv-01026-JCC-MLP Document 30 Filed 11/04/20 Page 2 of 2




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     Presented by:
 2

 3   CROLLARD LAW OFFICE, PLLC

 4   s/Jeff B. Crollard
     Jeff B. Crollard, WSBA No. 15561
 5   9725 3rd Ave NE, Suite 600
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 6
     Jbc@crollardlaw.com
 7   T: 206-623-3333
     F: 206-260-7357
 8   Attorney for Defendant Donna Keller
 9

10
     DATED this 4th day of October, 2020.
11

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13                                              A
14                                              MICHELLE L. PETERSON
                                                United States Magistrate Judge
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                                                            CROLLARD LAW OFFICE, PLLC
     ORDER GRANTING DEFENDANT DONNA KELLER’S                9725 3RD AVE NE, SUITE 600
     STIPULED REQUEST TO FILE PROPOSED                       SEATTLE, WA 98115-2061
     SECOND AMENDED ANSWER                -2-                   TEL (206) 623-3333
                                                                FAX (206) 260-7357
